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                    United States Court of Appeals
                                    For the First Circuit
      No. 19-1246
                                       DANIEL E. CARPENTER

                                         Petitioner - Appellant

                                                   v.

                                          UNITED STATES

                                         Respondent - Appellee


                                             MANDATE

                                       Entered: January 15, 2020

             In accordance with the judgment of September 4, 2019, and pursuant to Federal Rule of
      Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                                 By the Court:

                                                 Maria R. Hamilton, Clerk


      cc:
      Mark J. Balthazard
      Daniel E. Carpenter
      Kelly Begg Lawrence
      David G. Lazarus
      Cynthia A. Young
